       Case 1:18-cv-00063-JCG Document 100              Filed 05/24/21    Page 1 of 10


             UNITED STATES COURT OF INTERNATIONAL TRADE
         BEFORE THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
__________________________________________
                                             )
GODACO SEAFOOD JOINT STOCK                   )
COMPANY, et al.,                             )
                                             )
                  Plaintiff and Consolidated )
                  Plaintiffs,                )
                                             )
                  v.                         ) Consol. Court No. 18-00063
                                             )
UNITED STATES,                               ) PUBLIC VERSION
                                             )
                  Defendant,                 ) Business Proprietary Information
                                             ) Removed from Brackets on Pages 8
                  and                        ) and 9.
                                             )
CATFISH FARMERS OF AMERICA, et al.,          )
                                             )
                  Defendant-Intervenors.     )
__________________________________________)

                     DEFENDANT-INTERVENORS’ COMMENTS IN
                     OPPOSITION TO SECOND REMAND RESULTS

       Defendant-Intervenors, the Catfish Farmers of America, et al. (together, “CFA”), hereby

submit these comments in opposition to the Final Results of Redetermination Pursuant to Court

Remand (Apr. 5, 2021) (ECF No. 95) (“Second Remand Results”) issued by the U.S. Department

of Commerce (“Commerce”) in response to this Court’s ruling in GODACO Seafood Joint Stock

Co. v. United States, Court No. 18-00063, Slip Op. 21-03 (Ct. Int’l Trade Jan. 6, 2021) (ECF No.

90) (“GODACO II”).1 These comments are timely filed in accordance with this Court’s Feb. 11,

2021 order granting an extension of time and revising the remand schedule (ECF No. 93).


1
  This action arises from Commerce’s determination in Certain Frozen Fish Fillets from the
Socialist Republic of Vietnam: Final Results, Final Results of No Shipments, and Partial
Rescission of the Antidumping Duty Administrative Review; 2015-2016, 83 Fed. Reg. 12,717
(March 23, 2018) (“Final Results”), P.R. 336, and accompanying Issues and Decision
Memorandum, P.R. 337, and Commerce’s subsequent Final Results of Redetermination Pursuant
to Court Remand (Jul 21, 2020) (ECF No. 77) (“First Remand Results”), issued pursuant to the
Court’s decision in GODACO Seafood Joint Stock Co. v. United States, 435 F. Supp. 3d 1342
(Ct. Int’l Trade 2020) (“GODACO I”). Citations to documents on the confidential and public
       Case 1:18-cv-00063-JCG Document 100               Filed 05/24/21     Page 2 of 10

                                                                             PUBLIC VERSION
       This Court sustained, in part, and remanded, in part, certain aspects of Commerce’s First

Remand Results. GODACO II at 3-4. In particular, the Court remanded Commerce’s

assignment of a total AFA rate of $3.87/kg to the Separate Rate Plaintiffs because “Commerce

did not appear to employ the ‘expected method’ of determining the all-others rate” and instead

applied the “any reasonable method” approach without explaining the infeasibility of the

“expected method” or the reasonableness of its alternative approach. GODACO II at 23-25.

Thus, pursuant to the Court’s remand instruction to reevaluate the rate assigned to Separate Rate

Plaintiffs “in accordance with this opinion” Commerce was required to, sequentially, (1) use the

expected method, (2) if not using the expected method, explain its departure, and (3) if lawfully

departing from the expected method, explain why its alternative method is “reasonable.” See id.

Commerce’s Second Remand Results – in which Commerce validated the feasibility and

reasonableness of applying the “expected method,” but then departed from it in favor of an

unreasonable alternative methodology – are contrary to both the Court’s instructions and the

statute. 19 U.S.C. § 1673d(c)(5)(B). The Court should remand the decision to Commerce for

further consideration.


         I.    THE STATUTE REQUIRES COMMERCE TO FOLLOW THE
               “EXPECTED METHOD” UNLESS SUBSTANTIAL EVIDENCE
               DEMONSTRATES IT IS UNFEASIBLE OR UNREASONABLE

       In administrative reviews where Commerce has limited the number of respondents

individually investigated, Commerce applies 19 U.S.C. § 1673d(c)(5) to determine the rate

assigned to companies that qualify for a separate rate but were not individually investigated. The

“General Rule” of 19 U.S.C. § 1673d(c)(5)(A) provides that such a rate shall be an amount equal

to the weighted average of the estimated dumping margins established for respondents



administrative records of the underlying review are in the form of “C.R.__” and “P.R.__,”
respectively.
                                                2
       Case 1:18-cv-00063-JCG Document 100                Filed 05/24/21     Page 3 of 10

                                                                             PUBLIC VERSION
individually examined, excluding any margins that are zero, de minimis, or determined entirely

on the basis of facts available, including adverse facts available (“AFA”). 19 U.S.C. §

1673d(c)(5)(A). Where the margins for all individually examined respondents are zero, de

minimis, or determined entirely on the basis of facts available, the “Exception” in

§ 1673d(c)(5)(B) instructs Commerce to use “any reasonable method” to establish the all-others

rate, “including averaging the estimated weighted average dumping margins determined for the

exporters and producers individually examined.” 19 U.S.C. § 1673d(c)(5)(B). The Statement of

Administrative Action further clarifies that under the “Exception,” the “expected method” is to

weight-average all individually calculated margins, including those that are zero, de minimis, and

determined entirely under facts available, including AFA. Statement of Administrative Action

accompanying the Uruguay Round Agreements Act, H.R. Doc. No. 103-316, Vol. 1 (1994)

(“SAA”) at 873. As this Court observed, Commerce may thus only depart from the “excepted

method” when it “reasonably determines that the expected method is not feasible or results in an

average that would not be reasonably reflective of potential dumping margins.” GODACO II at

21-22 (citing 19 U.S.C. § 1673d(c)(5)(B); Navneet Publ’ns (India) Ltd. v. United States, 999 F.

Supp. 2d 1354, 1358 (Ct. Int’l Trade 2014); SAA at 873; Albemarle Corp. & Subsidiaries v.

United States, 821 F.3d 1345, 1351 (Fed. Cir. 2016)).


        II.    COMMERCE LAWFULLY APPLIED THE “EXPECTED METHOD” IN
               CALCULATING THE ORIGINAL $3.87/KG ALL-OTHERS RATE

       In the underlying administrative review Commerce individually investigated only one

foreign producer/exporter, GODACO Seafood Joint Stock Company (“GODACO”).2 Because




2
 Commerce originally selected two mandatory respondents, GODACO and Golden Quality
Seafood Corporation (“Golden Quality”). However, Golden Quality did not respond to
Commerce’s questionnaire and Commerce determined that it was a part of the Vietnam-wide
entity, which was not under review. Final Results at 12,718.
                                                 3
       Case 1:18-cv-00063-JCG Document 100                Filed 05/24/21      Page 4 of 10

                                                                              PUBLIC VERSION
Commerce assigned GODACO a margin based entirely on AFA, it could not apply the “General

Rule” of 19 U.S.C. § 1673d(c)(5)(A) with respect to those companies not selected for individual

examination. Commerce instead employed the “expected method” of 19 U.S.C.

§ 1673d(c)(5)(B) by weight-averaging all individually calculated margins, i.e., the AFA margin

assigned to GODACO (i.e., $3.87/kg), resulting in an all-others rate of $3.87/kg.3 Second

Remand Results at 8-9. See generally YC Rubber Co. (N. Am) LLC v. United States, 487 F.

Supp. 3d 1367, 1376-77 (Ct. Int’l Trade 2020) (“{T}here is no requirement for multiple data

points to determine an average. . . In the case of a single data point, both the simple average and

the weighted average will be the same as the single data point.”) (internal citations omitted); Soc

Trang Seafood Joint Stock Co. v. United States, 321 F. Supp. 3d 1329, 1347 (Ct. Int’l Trade

2018) (“Nothing in the statutory framework requires Commerce to calculate the all-others rate

using multiple rates nor precludes Commerce from relying on just one rate.”).

       In this instance, the “expected method” was feasible because Commerce used it to

calculate the original $3.87/kg all-others rate, and there was no evidence that the rate would not

be reasonably reflective of potential dumping margins. See Second Remand Results at 5

(explaining that Commerce’s original application of the expected method “was consistent with

that Act and the SAA”). Therefore, Commerce’s original separate-rate determination was in

accordance with the statute’s “expected” outcome.




3
  While Commerce may have caused confusion by alternatively referring to its methodology as
the “expected method” and “any reasonable method” in the First Remand Results, Commerce
clarified in the Second Remand Results that the $3.87/kg all-others rate assigned by Commerce is
indeed the result of the “expected method” because, in accordance with 19 U.S.C.
§ 1673d(c)(5)(B) and the SAA, this figure is the weight-average of all individually calculated
margins in the review, including those that are zero, de minimis, and determined entirely under
AFA. Second Remand Results at 2.
                                                 4
       Case 1:18-cv-00063-JCG Document 100                Filed 05/24/21     Page 5 of 10

                                                                              PUBLIC VERSION
       III.    COMMERCE UNLAWFULLY DEPARTED FROM THE “EXPECTED
               METHOD” IN THE SECOND REMAND RESULTS

       Despite Commerce originally having followed the expected method, and despite

Commerce correctly explaining in the Second Remand Results that its original use of the

expected method was in accordance with law, Commerce reversed itself under protest based

upon its belief that the Court required it to deviate from the expected method. See Second

Remand Results at 9 (“Commerce believes that the previously-assigned rate, which it applied

under the expected method in the Final Results is reasonable, but clearly the Court does not.

Nonetheless, in compliance with GODACO II, under respectful protest, we have reevaluated the

rate assigned to the separate rate companies and assigned a margin based on separate rates

assigned during prior reviews in this proceeding.”). Commerce misunderstood this Court’s

remand instruction.

       Commerce reversed its determination because “{t}he Court disagreed with Commerce’s

statement that it had applied the ‘expected method’ under the SAA” and “precluded” Commerce

from continuing to apply the expected method. Id. at 6 and 15, respectively. However, this is

not what the Court found. Rather, this Court found that Commerce stated in one instance that it

applied the “expected method,” but then stated in another instance that it applied “any reasonable

method.” GODACO II at 19 (“Commerce explained that it applied the ‘expected method’ under

Section 1673d(c)(5)(B), yet the court observes that Commerce also stated that it applied ‘any

reasonable method’ under the statutory exception”). Thus, the Court found that Commerce must

have departed from the expected method and applied any reasonable method. The Court rejected

this apparent departure from the expected method because Commerce failed to explain why “the

expected method was not feasible or resulted in an average that would not be reasonably

reflective of the potential dumping margins. . .”. Id. at 22-23. Therefore, the Court did not reject




                                                 5
        Case 1:18-cv-00063-JCG Document 100                   Filed 05/24/21   Page 6 of 10

                                                                               PUBLIC VERSION
Commerce’s application of the expected method, but rather, understood that Commerce did not

apply it in the first place and sought further explanation.

       Only after the Court found that Commerce departed from the expected method without

explanation did it analyze whether the record supported the assignment of the AFA rate under

the “other reasonable method” approach. Id. However, Commerce’s Second Remand Results

incorrectly focus upon the Court’s alternative analysis rather than its initial holding.

Commerce’s misinterpretation of the Court’s Opinion is evident from the following passage,

which Commerce cites for its view that this Court ordered it to depart from the expected method

and in which Commerce emphasizes the second, contingent sentence despite only needing to

explain under the first sentence that it never departed from the expected method:

       Notwithstanding Commerce’s failure to substantiate its departure from the
       ‘expected method,’ the court considers whether Commerce’s use of the ‘any
       reasonable method’ approach to apply GODACO’s total AFA rate to Separate Rate
       Plaintiffs is in accordance with the law. … The court concludes that Commerce’s
       determination to apply a total AFA rate to fully cooperating Separate Rate
       Plaintiffs is unreasonable and unsupported by any evidence on the record.

Second Remand Results at 14 (citing GODACO II at 23-24) (emphasis in Commerce original).

Indeed, this Court made clear that, pursuant to the statute and SAA, whenever Commerce departs

from the “expected method” it is “required first to demonstrate that the expected method was not

feasible or resulted in an average that would not be reasonably reflective of potential dumping

margins.” GODACO II at 23 (emphasis added); see also id. at 22 (citing Albemarle, 821 F.3d at

1351; Changzhou Hawd Flooring Co. v. United States, 848 F.3d 1006, 1012 (Fed. Cir. 2017))

(before departing from the expected method, “Commerce must determine that the expected

method is not feasible or would not be reasonably reflective of the potential dumping margins for

non-investigated exporters or producers based on substantial evidence”) (emphasis added).

       Contrary to the Court’s recognition of the law, in the Second Remand Results, Commerce

departed from the “expected method” without making either of these findings. To the contrary,


                                                  6
       Case 1:18-cv-00063-JCG Document 100                Filed 05/24/21     Page 7 of 10

                                                                              PUBLIC VERSION
Commerce explicitly found that application of the “expected method” was both feasible and

resulted in a reasonable all-others rate. See, e.g., Second Remand Results at 9 (“Commerce

believes that the previously-assigned {$3.87/kg} rate, which it applied under the expected

method in the Final Results is reasonable…”). Under such circumstances, Commerce’s

departure from the “expected method” and its adoption of an alternative method to calculate the

revised $0.89/kg all-others rate was contrary to the law, the teachings of Federal Circuit in

Albemarle, and this Court’s explicit instructions.


        IV.    COMMERCE ALSO ACTED UNLAWFULLY BECAUSE THE $0.89/KG
               ALL-OTHERS RATE IS UNREASONABLE

       Because Commerce’s original determination was feasible and there was no evidence that

the rate assigned would not be reasonably reflective of potential dumping margins, Commerce

should not have deviated from the expected method and its further analysis regarding the

reasonableness of the separate rate is not relevant. However, because Commerce deviated from

the expected method, Commerce was required to additionally explain the reasonableness of its

chosen alternate “any reasonable method” approach. See GODACO II at 25 (explaining that, to

be in accordance with the law, “Commerce is required to support its application of the ‘any

reasonable method’ exception in 19 U.S.C. § 1673d(c)(5)(B) by demonstrating {through record

evidence} that the calculated margin is reasonable”).

       In the Second Remand Results, Commerce failed to cite any evidence demonstrating that

the revised $0.89/kg all-others rate is reasonably related to the separate-rate respondents’ POR-

specific activities. Indeed, no such evidence exists on the administrative record.4 Instead,


4
  This fact distinguishes this case from Bosun, where the Court noted that “in determining
whether to apply the ‘expected method,’ {Commerce} should consider any margins determined
by individual examination of…any of the separate rate respondents in prior administrative
reviews” and where, in its Second Remand Results, Commerce accordingly explained why its use
of the expected method “provides a contemporaneous and reasonable separate rate for the non-
selected respondents.” See Bosun Tools Co., Ltd., et al. v. United States, 463 F. Supp. 3d 1308,
                                                 7
        Case 1:18-cv-00063-JCG Document 100              Filed 05/24/21      Page 8 of 10

                                                                             PUBLIC VERSION
Commerce relied upon previous years’ dumping margins. However, the Federal Circuit has

stressed the importance of contemporaneity in Commerce’s separate rate analysis:

       In assessing the reasonableness of Commerce’s methodology, our analysis is
       guided by the statute’s manifest preference for contemporaneity in periodic
       administrative reviews. Under the statute, Commerce is obligated to review an
       antidumping duty order if requested “{a}t least once during each 12-month period
       beginning on the anniversary of the date of publication” of the order. Commerce
       must commence a review within six months of any request. The purpose of
       periodic administrative reviews is to reassess dumping margins previously
       calculated in light of data made available during the intervening period since the
       antidumping order was issued.

Albemarle, 821 F.3d at 1356. In particular, the Federal Circuit noted that where [



                                                                              ]. [             ].

Indeed, in GODACO II, the Court “direct{ed} Commerce to reevaluate the rate applied to

Separate Rate Plaintiffs in light of the evidence on the record as a whole . . .” GODACO II at 25

(emphasis supplied).

       Here, the record indicates that the rate applied in the Second Remand Results is

unreasonable. The record includes the separate rate respondents’ [                            ].

[                                                                                    ] the normal

value data on the record shows [

                                           ]. See CFA Administrative Rebuttal Brief (Feb. 16,

2018), C.R. 248, at Exhibit 3. Commerce’s revised $0.89/kg separate rate is unreasonable

because it [                                 ] and there is no record evidence linking this rate to



1318 (Ct. Int’l Trade 2020) (“Bosun Tools II”) at n.17; see also Commerce’s October 13, 2020
Final Second Remand Redetermination Pursuant to Bosun Tools II, Slip Op. 20-97 at 8 (aff’d in
Bosun Tools Co. v. United States, 493 F. Supp. 3d 1351, 1355-58 (Ct. Int’l Trade 2021)). The
only separate rate respondent from this administrative review that was individually examined in
any of the four proceeding administrative reviews was Hung Vuong Group (“HVG”) and record
evidence in this review demonstrates that the $3.87/kg separate rate margin is reasonable and
appropriate.
                                                8
         Case 1:18-cv-00063-JCG Document 100                Filed 05/24/21   Page 9 of 10

                                                                             PUBLIC VERSION
the separate rate respondents’ POR-specific activity. Meanwhile, Commerce’s original $3.87/kg

rate [                                  ]. Thus, even if Commerce were required to support the

reasonableness of the rate determined using the expected method, the record demonstrates that it

is a reasonable and [                    ] separate rate. See id.


          V.    CONCLUSION

         For the reasons set forth above, the Court should reject Commerce’s Second Remand

Results because Commerce’s conclusions are not supported by the record and contradict the

statute as well as this Court’s explicit remand instructions. Accordingly, we respectfully request

that the Court further remand this issue to Commerce with instructions to redetermine its

separate rate decision in light of the record and its practice.


                                               Respectfully submitted,
Dated: May 24, 2021                            /s/ Jonathan M. Zielinski
                                               Jonathan M. Zielinski
                                               James R. Cannon, Jr.
                                               Nicole Brunda
                                               CASSIDY LEVY KENT (USA) LLP
                                               900 19th Street, NW, Suite 400
                                               Washington, DC 20006
                                               (202) 787-5507
                                               jzielinski@cassidylevy.com
                                               Counsel to Catfish Farmers of America, et al.




                                                   9
       Case 1:18-cv-00063-JCG Document 100                 Filed 05/24/21      Page 10 of 10




          Certificate of Compliance with Standard Chambers Procedure 2(B)(1)(b)

       The undersigned hereby certifies that the foregoing comments in opposition to

Commerce’s Remand Results contain 2,651 words, exclusive of any corporate disclosure

statement, table of contents, table of authorities, certificates of counsel, and counsel’s signature,

and therefore complies with the maximum 10,000 word count limitation set forth in this Court’s

Standard Chambers Procedure 2(B)(1)(b).


                                               BY:     /s/ Jonathan M. Zielinski
                                                          Jonathan M. Zielinski
